             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                     1:24-cv-00212-MR-WCM

DAVID JENKINS                     )
individually and on behalf        )
of all others similarly situated, )
                                  )
             Plaintiff,           )
                                  )                    ORDER
       v.                         )
                                  )
SDS RESTAURANT GROUP, LLC; )
DOES 1-25,                        )
                                  )
             Defendants.          )
_________________________________ )

      This matter is before the Court on the Motion for Admission Pro Hac

Vice and Affidavit (Doc. 14) filed by Nancy S. Litwak. The Motion indicates

that Ms. Litwak, a member in good standing of the Bar of this Court, is local

counsel for Plaintiff and that she seeks the admission of Benjamin J. Sweet,

who the Motion represents as being a member in good standing of the Bar of

Pennsylvania. It further appears that the requisite admission fee has been

paid, and that there is no opposition to the Motion.




                                       1

   Case 1:24-cv-00212-MR-WCM      Document 15    Filed 12/27/24   Page 1 of 2
      Accordingly, the Court GRANTS the Motion (Doc. 14) and ADMITS

Benjamin J. Sweet to practice pro hac vice before the Court in this matter while

associated with local counsel.

                            Signed: December 27, 2024




                                         2

   Case 1:24-cv-00212-MR-WCM       Document 15          Filed 12/27/24   Page 2 of 2
